Case: 1:15-cv-02881 Document #: 312 Filed: 08/15/19 Page 1 of 1 PageID #:24003

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

US Commodity Futures Trading Commission,
et al.
                                                 Plaintiff,
v.                                                            Case No.: 1:15−cv−02881
                                                              Honorable John Robert
                                                              Blakey
Kraft Foods Group, Inc., et al.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 15, 2019:


        MINUTE entry before the Honorable John Robert Blakey: Oral agreed motion to
set case for emergency status is granted. Emergency status hearing is set for 8/19/2019 at
10:30 a.m. in Courtroom 1203. No telephonic appearances will be permitted. Plaintiff
should come prepared to answer allegations it has violated court orders and should be held
in contempt and or subject to sanctions. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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